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             Exhibit 41
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                                                                    Page 1

   1
   2      UNITED STATES DISTRICT COURT
          DISTRICT OF NEW JERSEY
   3      CIVIL ACTION NO. 2:16-CV-06576
          ----------------------------------------x
   4
          INDUSTRIA DE ALIMENTOS ZENU S.A.S.,
   5
                      Plaintiff,
   6
                 - against -
   7
          LATINFOOD U.S. CORP. d/b/a ZENU PRODUCTS
   8      CO. and WILSON ZULUAGA,
   9                Defendants/Counter Plaintiff.
          ----------------------------------------x
  10      LATINFOOD U.S. CORP. d/b/a ZENU PRODUCTS
          CO.,
  11
                      Defendant/Counter Plaintiff.
  12
               and
  13
          INDUSTRIA DE ALIMENTOS ZENU S.A.S
  14      and CORDIALSA USA, INC.
  15      --------------------------------------------------x
                              599 Lexington Avenue
  16                          New York, New York
  17                          July 11, 2019
                              10:12 a.m.
  18
  19                30(B)(6) Deposition of LUIS ARANGO, a
          representative of the Plaintiff/Counter
  20      Defendant held at the above-entitled time and
          place, taken before Carolyn Crescio, a
  21      Professional Shorthand Reporter and Notary
          Public of the State of New York.
  22
  23                         *       *         *
  24
  25

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   1                               L. ARANGO
   2              A.    It's a show with retailers.
   3              Q.    Do you come to New York City for any
   4      of these trade shows?
   5              A.    No.
   6              Q.    There's no -- you're not aware of
   7      any candy or --
   8              A.    No, there are several shows here,
   9      but normally the territory manager is the one
  10      who goes.
  11              Q.    Have you ever gone to a trade show
  12      in this area?
  13              A.    Some time ago I went to one of the
  14      CNS show.
  15              Q.    CNS, when was that?
  16              A.    I don't remember.
  17              Q.    Was it in the last five years?
  18              A.    Yes.
  19              Q.    Last two years?
  20              A.    No.
  21              Q.    Are you familiar with the defendant,
  22      Latinfood?
  23              A.    Yes.
  24              Q.    Have you ever seen any Latinfood
  25      Zenu-branded products at any of these trade

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   1                               L. ARANGO
   2      shows?
   3              A.    No.
   4              Q.    How about Latinfood Ranchera-branded
   5      products at any of these trade shows?
   6              A.    No.
   7              Q.    What type of company is Cordialsa
   8      USA?
   9              A.    Cordialsa is a distribution company
  10      and marketing.
  11              Q.    Who are you the distribution and
  12      marketing arm for?
  13              A.    You mean consumers or brands?
  14              Q.    Are you marketing and distributing
  15      on behalf of somebody else?
  16              A.    On behalf, no.        We distribute our
  17      own brands from Nutresa.
  18              Q.    So correct me if I'm wrong:          Are you
  19      the marketing and distribution arm for Grupo
  20      Nutresa?
  21              A.    I'm one of many distribution
  22      companies.    Nutresa has multiple distribution
  23      companies.    We are in the US.
  24              Q.    Are you the exclusive marketing and
  25      distribution arm for Grupo Nutresa in the US?

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                                                                     Page 42

   1                               L. ARANGO
   2              A.    No.
   3              Q.    Who else do you know of is marketing
   4      and distributing for Grupo Nutresa in the US?
   5              A.    They export to several other
   6      companies in the US.
   7              Q.    Are you the only company working for
   8      Grupo Nutresa that's in the U S?
   9              A.    No.
  10                        MR. RAYMOND:        Objection to the
  11                    form of the question.            He just
  12                    answered.
  13              Q.    Are you operating exclusively for
  14      Grupo Nutresa in the US?
  15                        MR. RAYMOND:        Objection to the
  16                    form of the question.
  17              A.    Can you elaborate more on the
  18      question "exclusively"?
  19              Q.    Are you the representative of Grupo
  20      Nutresa in the US?
  21                        MR. RAYMOND:        Object to the
  22                    question.     Asked and answered.          He's
  23                    not going to answer it again.
  24              A.    No.
  25              Q.    These other distribution companies

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   1                               L. ARANGO
   2              Q.    Does Cordialsa handle US marketing
   3      and distribution for Grupo Nutresa in the US?
   4              A.    We handle Grupo Nutresa products in
   5      the US.
   6              Q.    Thank you.      Does Cordialsa work for
   7      any other companies besides its parent company,
   8      Nutresa?
   9                        MR. RAYMOND:        Objection to form.
  10              A.    What you mean?        "Work" is what?
  11              Q.    Does Cordialsa handle marketing and
  12      distribution for companies other than Grupo
  13      Nutresa in the US?
  14              A.    Yes.    We have one brand that is not
  15      Grupo Nutresa brand.
  16              Q.    What is that brand?
  17              A.    It's called Mexico Lindo.            Mexico,
  18      L-I-N-D-O.
  19              Q.    What did you sell for them?
  20              A.    Hot sauce.
  21              Q.    Is Mexico Lindo a Mexican company?
  22              A.    Yes.
  23              Q.    How many people does Cordialsa
  24      employ?
  25              A.    We have around 100.           One hundred

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                                                                   Page 52

   1                               L. ARANGO
   2      people.
   3              Q.    Do you have any non-US employees?
   4              A.    Non-US employees, yes.
   5              Q.    How many?
   6              A.    I don't know.
   7              Q.    What type of products does Cordialsa
   8      distribute in the US for Nutresa?
   9              A.    Cookies and crackers, coffee, candy,
  10      chocolate, pasta, powder drinks and hot sauce.
  11              Q.    Any meats?
  12              A.    No.
  13              Q.    How about vegetables?
  14              A.    Vegetables, no.
  15              Q.    How about beans?
  16              A.    No.
  17              Q.    Are the products that you're selling
  18      on behalf of Nutresa, are they sold exclusively
  19      in the US?    Only in the US?
  20                        MR. RAYMOND:        I'm going to
  21                    object.    Once again, you're far
  22                    beyond the agreed subjects of this
  23                    deposition.      Clearly the subjects of
  24                    this deposition were to limit
  25                    questions about sales of Zenu,

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   1                                L. ARANGO
   2                    Ranchera-branded products in the
   3                    United States.
   4                        There's nothing in here about
   5                    asking questions about other
   6                    activities of Cordialsa that have
   7                    absolutely nothing to do with this
   8                    lawsuit.     You have a very limited
   9                    counterclaim against Cordialsa
  10                    involving one incident, and you
  11                    certainly can ask him about that.
  12                        We produced documents about Zenu
  13                    and Ranchera activities by this
  14                    company, and we agreed that you
  15                    could ask questions about those
  16                    subjects, as well.           But all of the
  17                    other activities that Cordialsa may
  18                    be engaged in are beyond the scope
  19                    of any of these agreed subjects.
  20                    The whole purpose of negotiating
  21                    this was to limit the subjects of
  22                    this deposition.
  23                        So you are clearly violating the
  24                    agreement that you made as set forth
  25                    in these topics for examination.

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   1                               L. ARANGO
   2                        MR. INGBER:       Well, I certainly --
   3                        MR. RAYMOND:        I suggest you limit
   4                    your questions to what you agreed to
   5                    testify about, because we are not
   6                    going to bring the witness back, and
   7                    you have a limited amount of time.
   8                    But in any event, we are not going
   9                    to let him talk about subjects
  10                    beyond the agreed scope.
  11                        MR. INGBER:       Well, I disagree
  12                    with your characterization, but I'm
  13                    going to move on to my next
  14                    question.
  15              Q.    Does Cordialsa sell or distribute
  16      any Zenu or Ranchera products in the US?
  17                        MR. RAYMOND:        Today?
  18              A.    Today, no.
  19                        MR. INGBER:       You are
  20                    interjecting.       If he -- that is not
  21                    an objection, today.            That is not a
  22                    proper legal objection.
  23                        MR. RAYMOND:        Objection to form.
  24                    What is the time frame in which
  25                    you're asking him?          Is that better?

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    1                               L. ARANGO
    2                    Now you can ask the next question.
    3                    I do get to object to the form.
    4                       MR. INGBER:        You get to object to
    5                    the form, but you don't get to
    6                    interject with anything other than
    7                    that.   And you're making a habit out
    8                    of doing that.
    9                       MR. RAYMOND:         You know perfectly
   10                    well that the time frame that things
   11                    happen or didn't happen is very
   12                    important in this case.              So you need
   13                    to explain in your question what
   14                    time frame you're asking about.
   15              Q.    Has Cordialsa ever sold or
   16      distributed any Zenu or Ranchera-branded
   17      products in the US?
   18              A.    Yes.
   19              Q.    When did you do that?
   20              A.    2014.   It was a couple of cases in
   21      Texas.
   22              Q.    Were they sold in the US?
   23              A.    Yes.
   24              Q.    To who?
   25              A.    One bakery in Texas.

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    1                               L. ARANGO
    2              Q.    What bakery?
    3              A.    It's called Paneria Central.
    4              Q.    Was this a one-shot occurrence?
    5              A.    Yes.
    6              Q.    What did you sell to them?
    7              A.    Beans.
    8              Q.    How much was the value of the sale?
    9      Do you recall?
   10              A.    Very minimum.       Less than $50.
   11      Twenty, 30, whatever.
   12              Q.    Twenty to $30?        Is that the only
   13      time?
   14              A.    Yes.
   15              Q.    How did the sale come about, if I
   16      may ask?
   17              A.    It was sold.       Everything was sold.
   18              Q.    Did this company contact you?
   19              A.    Can you explain more?
   20              Q.    Did they contact Cordialsa about
   21      purchasing products from you?
   22              A.    It was a regular customer.
   23              Q.    Do you have a copy of the sales
   24      document for the product?
   25              A.    Yes.

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    1                               L. ARANGO
    2                       MR. INGBER:        We ask that that
    3                    document be produced and any and all
    4                    communications in regard to that
    5                    sale be produced.
    6                       We will put that in a subsequent
    7                    request after the deposition.
    8              Q.    Do you recall if there are any
    9      emails relating to that sale?
   10              A.    What you mean emails about the sale?
   11              Q.    Were there any communications in
   12      written form, either via email or letter between
   13      Cordialsa and Paneria Central regarding the sale
   14      and/or purchase of these Zenu-branded beans?
   15              A.    Emails, no.      The invoice.
   16              Q.    Invoice, okay.        You think that might
   17      be the only --
   18              A.    A picture of the sale.
   19              Q.    Do you know if you were allowed
   20      to -- do you know if you obtained permission
   21      from US Customs about selling Zenu-branded
   22      products in the US to Paneria?
   23              A.    What you mean that you're allowed?
   24              Q.    Where were these products made?
   25              A.    They were made in Colombia.

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                                                                    Page 62

    1                               L. ARANGO
    2      Ranchera-branded products in the US?
    3              A.    I don't know.
    4              Q.    If you need to take a break for any
    5      reason, let us know.      It's not a marathon.
    6              Can you tell me about what the corporate
    7      structure of Cordialsa is in the US?
    8              A.    We belong to Grupo Nutresa, so we
    9      are a subsidiary.
   10              Q.    Who are the current officers and
   11      directors of Cordialsa?
   12              A.    Alberto Hoyos, Jaime Correa and
   13      Alejandra Sarazty.
   14              Q.    Is Mr. Hoyos your boss or superior?
   15              A.    Yeah, my superior.
   16              Q.    Do you know how long Mr. Hoyos has
   17      been the president of Cordialsa?
   18              A.    Since the beginning.
   19              Q.    I think you mentioned previously
   20      that you had developed a sales strategy for Zenu
   21      products in the US; is that correct?
   22              A.    In 2014, yes.
   23              Q.    Is that a written document?
   24              A.    Yeah.   We have all of the steps to
   25      do the sales in the US, like the pricing and all

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    1                               L. ARANGO
    2      these things.    Everything related.
    3              Q.    Has that plan been implemented, to
    4      your knowledge?
    5              A.    No.   It was put on hold in 2014.
    6              Q.    How come?
    7              A.    Again, I was just waiting, and
    8      Industria told me to put it on hold because
    9      there was a issue with their trademark.
   10              Q.    Do you know if it had anything to do
   11      with sanitary or labeling issues?
   12              A.    I don't know.
   13              Q.    Has this sales strategy been
   14      produced to us, to your knowledge?
   15                       MR. RAYMOND:         Object to the form
   16                    of the question.         The implication is
   17                    there is some single document, and
   18                    that's not been the testimony.
   19              Q.    Is there a document with the sales
   20      strategy that you're referring to?
   21              A.    I have documents on the pricing
   22      analysis, the importing process, the compliance
   23      with the FDA regulation, and the manufacturing
   24      plant registration.      That's part of the business
   25      plan.

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                                                                        Page 64

    1                               L. ARANGO
    2              Q.    This business plan, do you know if
    3      this business plan has been produced in this
    4      case to us?
    5              A.    I don't know.
    6                       MR. RAYMOND:         We produced all of
    7                    the documents that we have been able
    8                    to locate that relate to the
    9                    activities taking place from 2011 to
   10                    2014 regarding the possibility of
   11                    selling Zenu and Ranchera products
   12                    in the United States.
   13                       MR. INGBER:        Well, I'm not aware
   14                    of this business plan.               If it's been
   15                    produced, then I ask that you
   16                    identify it.       If it has not, then I
   17                    ask that you produce it.
   18                       MR. RAYMOND:         As I said before,
   19                    and I think the witness made clear,
   20                    I don't think you're understanding.
   21                    He's talking about a business plan
   22                    as a plan, not as a single document.
   23                       There's no single business plan
   24                    document, as I understand it.               There
   25                    are a number of documents --

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    1                               L. ARANGO
    2      Zenu, and he direct me to Hernando.                And I talk
    3      with Hernando about the possibility of bringing
    4      the product to the US.
    5              Q.    When you say "the president," was
    6      that Diego Medina?
    7              A.    Yes.
    8              Q.    Do you know if there were any
    9      issues or any discussions about validating the
   10      use of the Zenu brand in the US?
   11              A.    No.    The validation is a normal
   12      process for us for everything that we do.                It's
   13      not a specific issue, but it's a concern.                We
   14      normally do it for every single product.
   15              Q.    When you say "validation," are you
   16      referring to getting a trademark for it in the
   17      US?    Do you know?
   18              A.    If it's active, if we need to ask
   19      for the use, if we need to register, any option
   20      has to be worked with Servicios Nutresa.
   21              Q.    When you say you have to register,
   22      do you mean with the US Trademark Office?
   23              A.    Yeah.
   24              Q.    At that time, were you aware of
   25      any -- were you aware of Latinfood selling

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                                                                       Page 85

    1                                L. ARANGO
    2      Zenu-branded products in the US?
    3              A.      No.
    4              Q.      Do you know if there were any
    5      discussions in Colombia at that time about
    6      somebody else using the name "Zenu" in the US?
    7                         MR. RAYMOND:        Object to the form
    8                      of the question.
    9              A.      To my knowledge, no.
   10              Q.      What happened as a result of these
   11      meetings and discussions?
   12              A.      We started working on the
   13      requirements, like labeling, reviewing the
   14      pricing analysis, everything.             Yeah.     We work a
   15      lot on it, on the product, until we got the
   16      notification they have to review the trademark.
   17              Q.      Did you understand there to be some
   18      issues with registering the trademark in the US?
   19              A.      No.   When I started the product, not
   20      at all.      After, when we were kind of ready.
   21              Q.      When you were what?
   22              A.      Ready with the product.
   23              Q.      When was that, if you know?
   24              A.      June, July, August.          Later on.
   25                         MR. INGBER:       Off the record.

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    1                               L. ARANGO
    2                       (A lunch break was taken.)
    3      FURTHER EXAMINATION
    4      BY MR. INGBER:
    5              Q.    When did you first become aware of
    6      this lawsuit?
    7              A.    When I received the letter from
    8      Latinfood.
    9              Q.    When was that?
   10              A.    I don't remember exactly the date.
   11              Q.    Do you know if it was in 2017?          You
   12      don't know?
   13              A.    No.
   14              Q.    Did there come a point in time where
   15      Cordialsa was issued a counterclaim in
   16      this matter from Latinfood?
   17              A.    I don't know.
   18              Q.    Do you know if Latinfood ever sued
   19      Cordialsa in this case?
   20              A.    I received a communication from
   21      Latinfood.    I pass it over to the -- our
   22      lawyers.
   23              Q.    Okay.   I want to show you --
   24                       MR. INGBER:        Mark that Arango 4.
   25                       (Defendant's Fourth Answer to

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    1                               L. ARANGO
    2              Q.    Was that that marketing plan you
    3      were talking about, the business plan?
    4              A.    No.    It was just an overview at the
    5      supermarkets, and I saw the potential of the
    6      category.
    7              Q.    Was this a written survey?
    8              A.    No.
    9              Q.    Was it verbal?
   10              A.    It's not a survey.          It was potential
   11      that I saw.
   12              Q.    Oh, potential that you saw.
   13              A.    Uh-huh.
   14              Q.    And did you share that with
   15      Industria?
   16              A.    Yes.    That's why I asked them to
   17      start the process of bringing the product to the
   18      US.
   19              Q.    And what year was that?
   20              A.    It was in 2011.
   21              Q.    Back in 2011, did you create a
   22      marketing strategy for Zenu-branded products in
   23      the US?
   24              A.    Marketing strategy, no, not really.
   25      Not really a marketing strategy.              I started the

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    1                               L. ARANGO
    2      process of analyzing the possibility of bringing
    3      the product to the US.
    4              Q.    Can you describe Cordialsa's sales
    5      strategy for bringing in Zenu-branded products
    6      into the US back in 2011?
    7              A.    2011, we normally target the
    8      demographics.    We saw a potential of Colombians
    9      in Florida, New Jersey, New York and Washington.
   10      So our proposal or our offer is to offer
   11      products with name brand recognition for
   12      Colombians that want -- to have the product that
   13      they have in origin, here in the US.               That's
   14      what we do.
   15              Q.    Did you as -- on behalf of Cordialsa
   16      do any kind of investigation to determine
   17      whether Industria Zenu products could be
   18      imported into the US?
   19              A.    I did the research with Pro Export.
   20      It's a Colombian government entity who promote
   21      the export from Colombia to any country.
   22              Q.    Was this back in 2011?
   23              A.    Yes.
   24              Q.    Were there any written
   25      communications with Pro Export about this?

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    1                               L. ARANGO
    2              A.    Yes.
    3              Q.    And that was back in 2011?
    4              A.    Yes.
    5              Q.    What do you recall them saying?
    6              A.    That we are allowed to bring the
    7      products in.    It's included in the free trade
    8      agreement, but they recommended to send to
    9      Customs the product to get the approval of the
   10      label on the cans and everything.
   11                       (Email is received and marked as
   12                    Arango Exhibit 6 for identification,
   13                    as of this date.)
   14              A.    Just to clarify, it's 2014.          That's
   15      what I see in the --
   16              Q.    Right now you have in front of
   17      Arango 6, which is some email communication
   18      dating back to 2014?
   19              A.    Uh-huh.
   20              Q.    After looking at this document,
   21      you're correcting yourself to mean that your
   22      communications with Pro Export were in 2014,
   23      correct?
   24              A.    2014, yes.
   25              Q.    Thank you.

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    1                                L. ARANGO
    2                       MR. INGBER:         These documents,
    3                    just for the record, are numbered
    4                    IAZDNJ0002505 through 2507.
    5              Q.    Now, on 2506, which is the second
    6      page, there's an email from you dated May 30th,
    7      2014 to Elena Bustamante Crump.
    8              A.    Correct.
    9              Q.    Who is she?
   10              A.    She's the representative from the
   11      Pro Export in Texas.
   12              Q.    Now, according to this email, you
   13      say:    I would like to see if Pro Export can
   14      advise us of some products they have always
   15      wanted to bring, but they say there that they
   16      can't be brought to the US for some restrictions
   17      from the US government.         In particular, they are
   18      some Zenu products.
   19              Do you know what the restrictions that you're
   20      talking about here refer to?
   21              A.    Yeah.   The cans.         The cans have some
   22      limitations about bringing the product to the
   23      US, and the TLC agreement with Colombia has some
   24      restrictions.    As I am not a person with legal
   25      knowledge about that, I proceed to go to Pro

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    1                                 L. ARANGO
    2      Export because they have knowledge about the
    3      free trade agreement.
    4              Q.      Actually, it looks like the first
    5      page is the response to that; is that correct?
    6      2505.
    7              A.      Yeah.   He said we can meet in
    8      person.      Some time, I can send her product specs
    9      and information.
   10              Q.      Did you respond to this?
   11              A.      Yeah.   We talk about it over the
   12      phone, and he explained we can do it when she
   13      advise me to go to Customs.
   14              Q.      They asked you on 2505, Ms. Enela
   15      said, Can you make a list of the products, their
   16      specifications and the most important is what
   17      percentage of meat are contained in the
   18      preparation?
   19              So did you do that?
   20              A.      Yeah, but not to her.            I call her to
   21      say, the best way you can make it -- she said
   22      you can make it.        We reviewed the agreement.
   23      But there are some limitations on the meat
   24      content, so proceed to send to Customs, real
   25      samples, and they can give you feedback.

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    1                               L. ARANGO
    2              Q.    Did you do any surveys or take any
    3      tests to determine if Zenu had any brand
    4      recognition in the US?
    5              A.    No.
    6              Q.    Are you aware of any -- again,
    7      you're aware now of Latinfood selling
    8      Zenu-branded products; is that correct?
    9              A.    Yes.
   10              Q.    Are you aware of any consumers being
   11      confused about who is making Zenu-branded
   12      products in the US?
   13              A.    That I'm aware of, no.
   14              Q.    Are you aware of any incident or
   15      person or company in the US who has been
   16      confused as to whether the goods sold under the
   17      Zenu mark are Industria's and not Latinfood?
   18              A.    No.
   19              Q.    Has anyone ever contacted you or
   20      Industria to see if you're affiliated with
   21      Latinfood in the US?
   22                       MR. RAYMOND:         Objection to the
   23                    form of the question.            Again, he's
   24                    not here to testify for Industria.
   25                    He can testify as to Cordialsa.

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    1                               L. ARANGO
    2      better the content of origin.
    3              Q.    Where would you mark that?           On the
    4      label?
    5              A.    The label.
    6              Q.    So --
    7              A.    We send the samples, and they gave
    8      back to us with recommendations.
    9              Q.    So I summarized this as saying that
   10      that there's a labeling issue.
   11              A.    No.
   12              Q.    If it's not -- if the label is not
   13      properly marked, then I guess --
   14              A.    The objective was to -- the tariff
   15      classification of the can beans, as you see on
   16      the title.    They review it.         They gave feedback,
   17      and they send a recommendation to properly mark
   18      the country of origin.
   19              Q.    Would that be -- to properly mark it
   20      on the label; is that correct?
   21              A.    Yes.
   22              Q.    So the label would need to be
   23      changed?
   24              A.    That's the recommendation.
   25              Q.    Did you do that?

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    1                                 L. ARANGO
    2              A.      We didn't bring the product up to
    3      that, because as I mentioned before, in 2014 we
    4      were working a lot on the product, but it has to
    5      be stopped in 2014.
    6              Q.      And this is 2011?
    7              A.      Yes.
    8              Q.      But just mentioned 2014.             That's
    9      over three years later.
   10              A.      The pro --
   11                         MR. RAYMOND:         Wait for him to ask
   12                      you a question.
   13              Q.      So why are you talking about 2014
   14      when this letter is dated January 12th, 2011?
   15              A.      Maybe I misunderstood the years.
   16      But the whole process in 2011, there were two
   17      steps.      2011 and 2014.      2011, when we sent the
   18      samples, the objective was to get the tariff
   19      classification, and they requested samples.                   We
   20      sent them over.        They gave us the
   21      recommendations.
   22              From 2011 to 2014, there are some years.                   At
   23      that time we were increasing a lot our
   24      distribution.      We need more volume, we need more
   25      sales.      So we were focusing our effort and

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    1                               L. ARANGO
    2      increasing distribution.         That -- it's not that we
    3      didn't want the product.         We were doing a lot,
    4      increasing distribution.
    5              2014, because we had a success with other
    6      lines, I add, Please send me over -- because when
    7      we get the project again, I say, Please -- in
    8      March, in the meeting that I have in March, I need
    9      the product -- project back again, because I need
   10      the product for my distribution.
   11              Q.    Were there any issues with the
   12      trademarking in 2011, to your knowledge?
   13              A.    No.
   14              Q.    Did this have anything to do, to
   15      your knowledge, this letter, with Latinfood?
   16              A.    No.
   17              Q.    So in connection with this document
   18      in 2011, you got a notice from US Customs
   19      telling you what to do to change the labeling;
   20      is that correct?
   21                       MR. RAYMOND:         It's been asked and
   22                    answered about 100 times, but you
   23                    want him to say it again?              He took
   24                    it as a recommendation.              He said it
   25                    over and over again.

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    1                               L. ARANGO
    2              A.    The objective was to get the tariff,
    3      the classification, and how it goes with the
    4      free trade agreement.       They send back a
    5      recommendation, that we received.
    6              Q.    So nothing happened -- or did
    7      anything happen from 2011 through 2014 in
    8      connection with bringing in Zenu-branded product
    9      into the US?
   10              A.    No.
   11              Q.    Do you know if there was ever a
   12      response made by Cordialsa to this letter?
   13              A.    No.    We didn't have to.
   14              Q.    Back in 2011, did Cordialsa work
   15      with a US Customs broker to try and get
   16      Zenu-branded products into the US?
   17              A.    No, I think the way you're saying it
   18      is not correct.
   19              Q.    What is the correct way?
   20              A.    We worked with our Customs broker,
   21      and his recommendation was to send samples to
   22      Customs to get the ruling.
   23              Q.    Was that Mr. Fleischer?
   24              A.    Yes.
   25              Q.    What was the result of that testing?

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    1                               L. ARANGO
    2              A.    The letter.
    3              Q.    Was there any follow-up testing
    4      done?
    5              A.    No.   The ruling is just a document
    6      they send, that was the tariff classification.
    7      That was the whole purpose.
    8              Q.    Did Cordialsa attempt to bring
    9      Zenu-branded products into the US for sale in
   10      2014?
   11              A.    As I mentioned before, I work on
   12      different things to bring the product in 2014.
   13              Q.    Was Cordialsa successful in 2014?
   14                       MR. RAYMOND:         Object to the form.
   15                    Successful at what?
   16              Q.    In bringing Industria Zenu-branded
   17      products to the US for sale in 2014 -- was
   18      Cordialsa successful?
   19                       MR. RAYMOND:         I object to the
   20                    form.   But if you understand, you
   21                    can answer.
   22              A.    I don't really understand what
   23      successful mean, but we did a lot.                 But at the
   24      end, we didn't bring the product because of the
   25      trademark.

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    1                               L. ARANGO
    2              Q.    Now, are you aware if Zenu-branded
    3      products owned by Industria were canceled in the
    4      US -- trademarks?     Excuse me.
    5              A.    Can you repeat that?
    6              Q.    Are you aware if Industria's US
    7      trademarks for Zenu-branded products were
    8      canceled in the US?
    9              A.    I don't know about Zenu product.          I
   10      can only speak about Cordialsa.
   11              Q.    Do you have any knowledge of an
   12      individual named Jairo?
   13              A.    Who?
   14              Q.    Jairo, J-A-I-R-O.
   15              A.    Do you have the last name?
   16              Q.    That is the last name, J-A-I-R-O.
   17      First name is John.      Second name is Jairo.
   18              A.    Jairo is a second name in Colombia,
   19      so maybe not a last name.         There are many John
   20      Jairos.
   21              Q.    Do you know any?
   22              A.    No.
   23              Q.    Okay.   Thank you.         I'm going to talk
   24      to you a little bit about Alejandro Yepes.            Do
   25      you know who he is?

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    1                               L. ARANGO
    2      products made under the Zenu brand.
    3              Is that what you see?
    4              A.    Yes.
    5              Q.    Were these photos -- we don't have
    6      the photos in front of us, I'm not sure if this
    7      is something that came Tuesday or something --
    8                       MR. RAYMOND:         No.     This was
    9                    produced months ago.
   10                       MR. INGBER:        Do you know if
   11                    photos were attached to this?
   12                       (Whereupon, an off-the-record
   13                    discussion was held.)
   14              Q.    Were these the Latinfood Zenu photos
   15      that --
   16              A.    Yes.
   17              Q.    Yes?
   18                       MR. RAYMOND:         When you say "the
   19                    Latinfood," which Latinfood Zenu?
   20              A.    Red bean cans.
   21              Q.    Red bean cans.        I remember that.
   22      Was that the first time you had seen any
   23      Latinfood Zenu products?
   24              A.    No.    This was an email they send
   25      me --

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    1                               L. ARANGO
    2              Q.    You're sending the email.
    3                       MR. RAYMOND:         Let him finish the
    4                    answer.
    5              A.    2014, some of the Alejandro and
    6      Alexander, he's the guy in the email, he used to
    7      be our marketing guy.       They sold products in the
    8      supermarket.    One of the events you see, the
    9      email was sent from Alex Yepes to me, with those
   10      two pictures.    I forward them to the corporate.
   11              Q.    You think that might have been
   12      December 1st, 2014, looking at 2475?
   13              A.    It was December.
   14              Q.    December.
   15              A.    Uh-huh.
   16              Q.    And that's the email you're
   17      referring to that Mr. Yepes sent you the photos?
   18              A.    This particular evidence was email
   19      he sent me, but I personally saw in the store,
   20      too.
   21              Q.    How did you see?
   22              A.    I saw the store.
   23              Q.    You went to the store?
   24              A.    Not this event.         It was
   25      another event.

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    1                                L. ARANGO
    2              Q.    When did you see it?
    3              A.    In 2014.
    4              Q.    When in 2014?
    5              A.    I don't remember.
    6              Q.    Would it have been before December?
    7              A.    Yes -- not sure, exactly.              But I saw
    8      the product in one of the supermarkets.
    9              Q.    Do you have any records that could
   10      confirm when you first saw it?
   11              A.    Yeah.
   12                       MR. INGBER:         Can I have this
   13                    marked as Exhibit 9?
   14                       (Email dated 12/3/14 is received
   15                    and marked as Arango Exhibit 9 for
   16                    identification, as of this date.)
   17              Q.    Have you seen this document before?
   18              A.    Yes.
   19              Q.    This is documents 2480 through 2482.
   20      And on 2481, the last email on the page, there's
   21      a -- I believe it's 9/10 or 9/11.               I believe
   22      it's September 10, 2014 at 7:36 p.m.                You're
   23      emailing Hernando; is that correct?
   24              A.    Correct.
   25              Q.    Now, you say here, the last

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    1                               L. ARANGO
    2      With all of the merchandising, appropriate as
    3      the brand requires; this is one.              The second is
    4      to create ideas for generating more sales at the
    5      store.
    6              Q.    But Cordialsa -- was Cordialsa ever
    7      marketing or distributing Zenu-branded products
    8      in the New York metropolitan area?
    9              A.    No.
   10              Q.    How about Ranchera?
   11              A.    No.
   12              Q.    Do you know or have you heard of
   13      Elvis Rodriguez?
   14              A.    I've heard about him.
   15              Q.    Have you ever met him?
   16              A.    No.
   17              Q.    Now, Mr. Rodriguez testified that
   18      Mr. Yepes visited him on or about July 15, 2015,
   19      and said that he was directed by you, Luis
   20      Arango, of Cordialsa, to tell stores that all
   21      Zenu product -- all Zenu-branded products sold
   22      by companies who are not Industria
   23      are unauthorized.
   24              Are you aware of that?
   25              A.    No.   He said that, but that's not

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    1                               L. ARANGO
    2      true.
    3              Q.     He said that?      Mr. Rodriquez is not
    4      saying the truth?
    5              A.     I don't know.      I didn't do any
    6      indication to Alex Yepes, as you mentioned,
    7      other -- they were not Zenu products.
    8              Q.     "Authorized" you mean?
    9              A.     Authorized.
   10              Q.     Were you aware of this incident?
   11              A.     Yeah.   He called me.
   12              Q.     What did he tell you?
   13              A.     He called me and said he has an
   14      incident, that he saw some products at the store
   15      under Zenu.     And the owner of the Latinfood was
   16      present.     And he said the owner of the Latinfood
   17      was saying he said they were fake, and he told
   18      me that the only thing he mentioned was, they
   19      were not the real product that are in Colombia.
   20      And I say that's okay, that's not a product in
   21      Colombia.
   22              Q.     Did you give him any instructions
   23      about visiting stores in this area regarding if
   24      he found any Zenu-branded products?
   25              A.     No.

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    1                               L. ARANGO
    2              Q.    We know for sure that you are aware
    3      of Latinfood selling Zenu products in September
    4      of 2014, I believe; is that correct?
    5              A.    I don't remember exactly, but I was
    6      aware the product was there before.
    7              Q.    And what did you do in response to
    8      that?
    9              A.    It's my responsibility to forward
   10      the pictures to the corporate, and they have to
   11      take care of the situation.
   12              Q.    Did they tell you to do anything in
   13      response?
   14              A.    No.
   15              Q.    Did you tell -- you said it was
   16      okay, I believe, if Mr. Yepes told these -- any
   17      locations that were selling Zenu-branded
   18      products that they were unauthorized; is that
   19      correct?
   20                       MR. RAYMOND:         Objection to the
   21                    form of the question.            He did not
   22                    say that.     It was with respect to
   23                    one conversation.
   24              Q.    What did you say?
   25                       MR. RAYMOND:         He's already said

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    1                                L. ARANGO
    2                      it.   Let's read it back.
    3              A.      On the event that you mentioned on
    4      July 15th, he told me what happened.                I said,
    5      Don't worry.      That's not a product we sell in
    6      Colombia.      That's okay.
    7              Q.      What were those products?            Do you
    8      know, the ones sold in Food Fair?
    9              A.      He didn't mention specific.            He said
   10      some items.
   11              Q.      I think you just said they were not
   12      the same products as were sold under the Zenu
   13      mark in Latinfood?
   14              A.      Yeah, because I knew the products
   15      because -- they, in Maryland, and some areas
   16      have informed me there were Zenu products at the
   17      store.      But I did -- my only job was to refer
   18      them to the corporate.         Nothing else.
   19              Q.      When you say that the products were
   20      different, do you mean that here they only sell
   21      beans in the US, while -- or here they only sell
   22      beans, but in, say, Colombia they sell meat
   23      products, something to do with that?
   24              A.      I don't understand the question.
   25              Q.      You said there were different

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    1                               L. ARANGO
    2      products.    Were they different food categories
    3      or just different looks, different --
    4              A.    No.    The item was similar to the
    5      Columbian product, but it's not the product that
    6      we made in Industria in Colombia, but it was
    7      identical.
    8              Q.    Did Mr. Yepes ever tell you that he
    9      called the Latinfood Zenu products fake?
   10              A.    No.
   11              Q.    Did Mr. Yepes call you right after
   12      this incident?
   13              A.    Yes.
   14              Q.    What did he tell you -- did he tell
   15      you he met Mr. Wilson Zuluaga of Latinfood?
   16              A.    Yeah.   He just called me and told me
   17      what happened and say, Don't worry.                That's good
   18      to hear you told me what happened, but those are
   19      not our products and don't worry.
   20              Q.    Did he tell you that Mr. Zuluaga was
   21      upset?
   22              A.    He mentioned that, yeah.
   23              Q.    Did you tell him he could keep doing
   24      whatever he was doing as long as he said that
   25      they were unauthorized?

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